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0001
                         IN THE     DISTRICT       COURT      OF THE   NINETEENTH


                       1iDICThL     DISTRICT       FOR      THE   STATE OF MONTANA

                              IN   AND   FOR   THE    COUNTY      OF LINCOLN

               CAUSE    NO    DV-98-83


               CARL         LARSON and joycg          LARSON
               husband      and wife


                              Plaintiffs

                       vs

               W.R  GRACE          CO      Conn
               Connecticut         corporation         and
               DOES    I-IV
         10
                              Defendants
         11
               ____________________________________

         12


         13                                VIDEO      DEPOSITION

         14                                            OF

         15                                    CARL          LARSON

         16                          On Behalf         of    Plaintiffs

         17


         18


         19                          Taken     at the Venture          Inn
                                          Libby Montana
         20                          Tuesday January 12                1999
                                            1100 a.m
         21


         22


         23


         24       Reported by Debra                   Hedman RPR P.MR and Notary
                  public for the State                of Montana Flathead County
         25


                 HEDMAN       ASA        GILMAN    REPORTING   INC      752-5751
                             P0 BOX      394    --   KALISPELL   MONTANA
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 0015
               other    jobs    that you           went       to    or did      you
1108
                               No     not    -- Never              did work       after       that       No
1108
                               Okay         So     you    never worked                at   the
1108
               vermiculite       mine known              as    Zonolite
1108
                               No     no     never        did
1108
                               Its     my understanding                    that you          have   been
1108
               diagnosed       with    asbestosis
1108
                               Yes
1108
                                 would       like        to    talk        if         could      now
1108
          10   about your exposure                 to asbestos             during          the course       of
1108
          11   your life        Mr     Larson             During       your       childhood            where
1108
          12   did   you        What     was       your address             here       in Libby when
1109
          13   you   were   growing         up
1109
          14                   What    did          what
1109
          15                   Where     did       you    live here             in Libby
1109
          16                   At 1317       Montana           Avenue
1109
          17                   Soisthat-
1109
          18                   In the       city of           Libby there              right      in   --

1109
          19                   South     side
1109
          20                   South     side
1109
          21                   Okay         Arid    was       that    pretty          much    your
1109
          22   entire      childhood
1109
          23                   Yeah        that was           my whole childhood                    yeah
1109
          24                   What    did       your folks           do    out       there         Your
1109
          25   parents
1109
                 HEDMAN      ASA         GILMAN          REPORTING              INC      752-5751
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 0016
                                My      father         worked         at    the mill           at     the
1109
                miii down         there         loading           boxcars        for years            My
1109
                mother     just was                 home     wife          you   know        There was          13
1109
                of   us    so     she     was       pretty        well      busy
1109
                                  Thirteen            kids
1109
                                  Thirteen
    09
                                Wow            She     was      busy       for sure          During        your
1109
                childhood           did    you        used       to play         in areas      that were
1109
                owned     by    Zonolite
1109
          10                      Yes
1109
          11                          would like             you      to tell us              little bit
1110
          12    about     that        if you          can         Where       did   you      play
1110
          13                      Well         we     used       to go down         here      on Lincoln
1110
          14    Boulevard         down        here          Just            That was         on the
1110
          15    company        railroad tracks                   there           They   had         --   oh
1110
          16    about          fourstory building                       down      there      and it had
1110
          17    the     Zonolite         in    it     and       stuff             think      it was      an old
1110
          18    popping        plant      is    what        it    is
1110
          19                      Okay           Let me          stop you         for        second        so

1110
          20    were clear                So     this       was       on Lincoln        Boulevard
1110
          21                      That        was     on Lincoln            Boulevard          just      across
1110
          22    the tracks              down           as       you    get down         to      Neils         on
1110
          23    there          Oh       just     past Wisconsin                      think     it     is
1110
          24    Its       about          block        on the          other      side of Wisconsin
1110
          25    Avenue         down      Lincoln
1110
                     HEDMAN       ASA          GILMAN           REPORTING           INC      752-5751
                                P0 BOX          394        --     KMJISPELL           MONTANA
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 0017
                               Okay            So    just to      orient          ourselves        what
1110
               kind of       time period             are   we   talking           about      What      age
1110
               were    you
1110
                               Oh             was    fairly young            at    that    time
1110
               Probably        oh        twelve        ten         twelve           thirteen
1110
               fourteen            You    know        up in            We    played        you    know
1111
               for    quite awhile             there
.1111
                               Okay            Tell    us more         then       about    the
1111
               facility on Lincoln                     What     was     it    like
1111
          10                   Oh        it    was    just              It    was         metal
1111
          11   building        you       know        and put up         big       timbers    inside
1111
          12   and stuff            And       then    they      stored       Zonolite       and had
1111
          13   different       rooms and             stuff        And       wed     go in there           and
1111
          14           off    the rafters             down      into    the Zonolite             and   --
               jump
1111
          15                   So was          this          So you         said there       was
1111
          16   popping       plant
1111
          17                   It    used       to    be        popping       plant         Right         it

1111
          18   was
1111
          19                   And       was    that          separate        building       from
1111
          20   where    you played
1111
          21                   Well           itts all one         building           but    it     was     --

1111
          22                   Okay
1111
          23                   --    it       was    roomed      off         You    know    what
1111
          24   mean
1111
          25                   Okay            Sure
1111
                 HEDMAN        ASA            OILMAN       REPORTING   INC      752-5751
                              P0 BOX          394     --     KPLISPELL   MONTANA
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 0021
                               Yeah        its all              one metal building                      but        it

1115
               was    in different             rooms          you     know
1115
                               Is    it    still there
1115
                               No         They       tore       it    down                 dont     know          what
1115
               year    for sure they                tore       it    down       or -- anyhow                 But
1115
               yeah     they       did    finally tear                it       down
1115
                               Okay            7nd       so    then       you       talked    about
1115
                             in piles          of               think you             called       it
               playing
1115
               Zonolite            Now        lets        just be clear on that
1115
         10                    Vermiculite                or Zonolite
1115
         11                    Is    that       the vermiculite                      ore    that Grace
1115
         12    produced
1115
          13                   Yeah
1115
          14                   2nd       did    you       know       at       that    time of       your life
1115
         15    that this facility                   was       owned       by Zonolite              or    is       that
1115
          16   something       that you             came       to know          later
1115
          17                   Oh no            we       knew       that       it was       owned       by
1115
          18   Well     at    the time          --            guess           yeah     we    did    --       we
1115
          19   knew    it    was    them but there                       was    some           Somebody
1115
          20   dont     know       who        found       the mine and that                     you      know
1116
          21   But yeah        that was             at    Zonolite             at    the time
1116
          22                   Describe             the       part       of    the    building          where
1116
          23   you    would play               What       was       it    like
1116
          24                   Oh        it    was       --    It    was       timber        and there            was
1116
          25   Zonolite       in it       and       wed        get up on the timbers                         and
1116
                 HEDMAN        ASA            GILMIREPORTING                         INC      752-5751
                              P0 BOX          394               KALISPELL              MONTANA
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 0022
               that   and then                 you    knows        we    would play         our     games
1116
               and push          each    other       off down           into    the Zonolite               Or
1116
               else we       would       just plain           jump off          and    slide down          the
1116
               pile and          go up and do her                again         you    know
1116
                                  So    was    this -- Do           you       know    whether       this
1116
               vermiculite             was    already       expanded           or popped           or was
1116
               it    still --          Imean         if    you     dont know            thats        --

1116
                                       dont        quite remember              all that
1116
                                       say that because                 you    say you       jumped       into
1116
         10    it     and         was    wondering            how       did    it    feel    when    you
1116
         11    jumped       into       it
1116
         12                       It    was         soft    landing
1116
         13                       Okay
1116
         14                       Dusty            Awful    dusty               know    that        because
1117
               the timbers                            had dust           on them               inches
         15                            up there
1117
         16    deep        you    know         At places           you    would       scoot    the dust
1117
         17    off    and    it    would       go down         and fly around                you    know
1117
          18   It    was    quite       dusty              do remember               that
1117
          19                      Okay         nd so          it   was    just         game     that you
1117
          20   would play
1117
          21                      That       was    just           game
1117
          22                      --    and you       would jump              into the piles
1117
          23                      Go    down       there      and have         BB     gun   fights         One
1117
          24   boy    got his          eye    shot out while              he was        down    there
1117
          25                      Oh bumb
1117
                    HEDMAN        ASA         GILMAN        REPORTING   INC      752-5751
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0023
                              So--
1117
                              Okay
1117
                              So     it was       quite    an active             place      for kids
1117
              at    the time          You    know         Not       only       the bunch          was
1117
              with      other      ones      too
1111
                              Okay          So did       you    ever       see    other      kids
1117
              playing
1117
                              Oh      sure         Sure
1117
                              Okay          Now        while    you       were    playing        down
1117
         10   there       this     was           was    this during             the day      generally
1117
         11   or--
1117
         12                   Yes
1117
         13                   Were       there     adults          around       in the      area
1117
         14                   At times             At    times sure
1118
         15                    People who          worked          at    the   plant
1118
         16                   Well         yeah         Yeah            Yeah      They      would       --

1118
         17   Nobody      ever     said     anything          to    us     you    know           Just
1118
         18   more     or less        as    long as we             wasnt        bothering         them       or
1118
         19    in their way           they       would    just leave             you     alone       you
1118
         20    know
1118
         21                    nd so they --              So       these       were    --   As    far as
1118
         22   you     know     they      were     men    who       worked        there      at the
1118
         23   plant           at   the popping           plant
1118
         24                    As far as               know        yeah
1118
         25                    Did    they       see you       kids       playing
1118
                   I-LEDMAN    ASk         GILMAN       RBPORTINO   INC      752-5751
                              P0   BOX     394            KALISPELL   MONTANA
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 0024
                            Oh      sure        Sure
1118
                            Again        nobody          ever    asked      you    to leave
1118
               or--
1118
                            Not     that        ever        recall
1118
                            Did     anybody         ever express            anything         about
1118
               the dangers
1118
                            No
                                   of the dust
1118
                            No          No     Not        one    person     ever
1118
         10                 was     this big             room where       the Zonolite             piles
1118
         11    were   was    this kind         of        open    to the outside               Was      it

1118
         12    a--
1119
         13                  Oh no             No         Well    --   No    it    was       in     Wd
1119
         14    have   to go through            the doors          or that         you     know
1119
         15                  id you           guys just walked              through
1119
         16                  Yeah       walked           through         Walked         through
1119
         17    get in there
1119
                             Were       the doors          ever    locked     or        --
         18
1119
         19                  Not    that            remember           at that      time          No
1119
         20                  Was    there       any       fence    around     the        facility
1119
         21    that   you   had    to    --

1119
         22                  No     no
1119
         23                  Okay
1119
         24                  No
1119
         25                  nd any                 Do    you    remember         any    signs     or
1119
                 HEDMAN      ASA         GILMAN          REPORTING   INC       752-5751
                            P0 BOX       394               KALISPELL   MONTANA
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 0025
                anything       posted          asking       you     not to       play
1119
                                No
1119
                                Okay
1119
                                No            Like       said             went    down      that road
11 1-9
                many         times       to    visit    my brother             and      stuff and       that
1119
                and     like         say             dont         remember       ever      seeing   signs
1119
                but     you    know       --    its possible               that      --    you   know     but
1119
                  dont        think       so
1119
                                Yeah            At    that        time    in your life           you
1120
          10    were          guess           lets     say between             ten and fourteen
1120
          11    did    you    know       what    asbestos           was
1120
          12                    No
1120
          13                       Did    you    know        if    there    was      any    asbestos      in
1120
           14   the ore that             was    in    the buildings
1120
           15                   No
1120
           16                      Did    you    guys ever           take      matches       or anything
1120
           17   and heat       up the          ore
1120
           18                      Oh yes             Many        times        Yes
1120
           19                      What       would happen
1120
           20                      Just       watch     it    expand       and that         and pop       up
1120
           21   and put       it    on    --    If    you     build         little fire             put    it
1120
           22   on something             and watch           it    pop    up      you     know      Oh
1120
           23   yeah
1120
           24                      Okay
1120
           25                        think we           even       took    it     home and get          it on
1120
                  HEDMAN           ASA         OILMAN        REPORTING   INC      752-5751
                               P0     BOX      394             KALISPELL   MONTANA
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 0026
               the old      wood       stoves         and stuff
1120
                                 Okay
1120
                                 Just      to    watch       it
1120
                                 So    do you         remember         did      that     facility         down
1120
               on Lincoln         Boulevard              did    it    have           name      that   you
1120
               remember
1120
                                 Not    that           remember                 dont        remember       if

1120
               there     was          name       on it or not
112
                                 Okay            Whats       there     now           in that spot
1121
          10                     Nothing              That          know    of        Just         railroad
1121
          11    track     goes    right by there                    up to the               into    the

1121
          12    mill there             2nd       that was       there           too      The    railroad
1121
          13    track     was    there            Thats        where       they       loaded    the ore
1121
          14    you     know     at that          time
1121
          15                     Oh        from right there                at    the popping
1121
          16    facility
1121
          17                     Yeah            Uh-huh         At that          time
1121
          18                     Did       you    ever      watch     that happen
1121
          19                     No              never      watched        that       happen       but
1121
                thats      what       it    was                then    years          later they         moved
1121
          21    clown    by the       river down            there
1121
          22                     Was       there      any    other         facility      for
1121
          23    vermiculite           where       you    played                  child
1121
          24                     Oh yes               Then     we    used       to    go down      here    by
1121
          25    the     river down          here         Just       after you          cross the
1121
                                 ASA         GILMPN         RBPORTING   INC     752-5751
                   HFDMPN
                                P0 BOX          394           KPLISPELL   MONTNA
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 0027
                overpass       you        turn left           down     there        down         to     the
1121
                Zonolite      was     down        there       then     at that time                     They
1122
                would   bring        it    down        off    the mountain              and pop it down
1122
                there   and     stuff            and we       would play           in    the bins             down
1122
                there     too
1122
                               Was        that        about     the same       period            of     time
1122
                from age ten          to fourteen                    Was    that    --

1122
                                Be    right in there                   you    know            Up      until
1122
                was   probably        fifteen           or     so     you    know           Up     in      that
1122
          10    area
1122
          11                    Okay
1122
          12                    We    kind        of    quit       going     down       there         and
1122
          13    started    going          down        to the other           one        you      know            nd
1122
          14    the   swimming        pooi        was    close        by down       there
1122
          15                    The       one     at    Lincoln        had the          swimming            pool
1122
          16    close   by
1122
          17                    Yeah        down        by the        river         IDown        by the
1122
          18    river there          was          swimming           pool    down       there by the
1122
          19    ball diamond
1122
          20                    Okay             So      dont         want    to    .ge.t     confused
1122
          21    because    Im not very                  familiar with              Libby              Is    the
1122
          22    one   where     the       swimming            pool    was     is    that         the       one on
1122
          23    Lincoln    Boulevard
1122
          24                    No
1122
          25                    The       one down            by   the river is where                      you
1122
                  HEDMPN        ASA             GILMAN        REPORTING   INC      752-5751
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0028
               would    swim    in
1123
                               Yes
1123
                               Okay         Im sorry                 got confused
1123
                               Oh    okay
1123
                               So    thats        close      to    the ball        diamonds      as

1123
               well
1123
                               The    Zonolite
1123
                               Yeah
1123
                                                                  the railroad        tracks          is
                               Yeah       just across
1123
         10    where    the    Zonolite         facility          was   across       the railroad
1123
         11    tracks    and back         of    the ball diamond
1123
         12                    Is    that      facility       still there
1123
         13                    Yes       but    they       are using     it    to               think
1123
         14    its       mill in         there     now        Some kind        of         lumber
1123
         15    mill      Yeah
1123
         16                    We    have         photograph            Mr    Larson        that       is

1123
         17    Plaintiffs           Exhibit       1-40        Ind you        can    see    it   on the
1123
                                      can      look at the                         Whichever          is
         18    screen    or you                                     photo
1123
         19    easier    for       you      Can      you    tell    us what        this
1123
         20    photograph          represents
1123
         21                    Yeah       thats           the Zonolite        down    here by the
1123
         22    river down           here        Thats        where      they brought            the    ore
1123
         23    down    to and       popped      it    in the       popping     building          back
1123
         24    there      That       building         --    Lets see          this one          here
1123
         25    that wasnt           there         That      building      there      wasnt        there
1124
                 HEDMN         ASA        GILMN           REPORTING   INC      752-5751
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0035
               warnings      ever    given       to    you
1130
                              None      that          can    recall        ever
1130
                              Are    there       other       times or periods            in your
1130
               life when      youve        been       around1         lets say         the
1130
               vermiculite         ore     from       Zonolite         specifically
1130
                              Yes       my home up on 516                 Poplar      there     in
1130
               59     we   insulated           with    six inchesof             the    popped
1130
               upstairs      in    it     in    the attic           and        lived     there       for
1131
               20   years with       it
1131
         10                   From       59     ti      --       79 then
1131
         11                   Until       79
1131
         12                   Approximately
1131
         13                   Yeah
1131
         14                   So    in    59     --    Were      you   born     in    46
1131
         15                   36
1131
         16                   36           meant            So   you   were     23
1131
         17    approximately
1131
         18                   Uh-huh
1131
         19                   Were       you    married then
1131
         20                   Yes
1131
         21                   Okay         And    wan       that       house      that    you
1131
         22    owned
1131
         23                   Yes          was    buying         it    at the time            Uh-huh
1131
         24                   And    how       did you       come      about    insulating           it
1131
         25    with   Zonolite       ore
1131
                    HEDMNS    ASA         GILMN        REPORTING   INC      752-5751
                             P0 BOX       394     --     KLISPEIJL   MONTANA
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 0036
                                   Well        my brother-in-law                worked           up --   down
1131
                at the       Zonolite           down    there        and --
1131
                                   What    was        his    name
1131
                                   Ruben        Fellenberg              1nd       had to          insulate
1131
                with    something               and he got me             the    ore
1131
                                   Did    you        build    the house
1131
                                   No       Huh-uh            It    was    --    It    was       already
1131
                built       arid        just bought           it           bought       --

1131
                                   And    you        felt    it    needed       some    insulation
1131
          10                       It    need        insulation
1132
          11                       In the walls              or ceiling
1132
          12                       Ceiling             On    the    ceiling part                  And    then
1132
          13    lot    of    it    went        down    into       the walls           but               put
1132
          14    completely              six inches          right to the          top       of    the         you
1132
          15    know        to--
1132
          16                       Top     of    the    joists
1132
          17                       Joists            yeah
1132
          18                       Do     you    remember           was    there anything                else
1132
          19    up there by way                 of    insulation          when    you       were    up
1132
          20    there
1132
          21                       Not     until            put    it   in            did    put              on
1132
          22    the    ceiling part                    put    fiberglass              but    otherwise          it
1132
          23    was    all Zonolite                   Nothing       else
1132
          24                       Okay
          25                        There wasnt              nothing
1132
                  HEDMAN           ASA          GILNAN       REPORTING   INC      752-5751
                                   P0    BOX    394            KALISPELL   MONTANA
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 0037
                            And    Ruben         you       said      --    Did you    go get      the
1132
                Zonolite   yourself        or
1132
                            No     Ruben        brought         it    to    me
1132
                            Was    he          pretty       close         friend    of yours
1132
                            Yeah         hets my brother-in-law
1132
                            Did    you        spend         lot      of    time together
1132
                             Oh yes             Years       and years              Yeah
1132
                             Is    he still          here       in Libby
1132
                             Yes     hes        still       here      in    Libby     huh-uh
1132
          10                 Okay         What       was    the ore         like when      he
1133
          11    brought    it to    you
1133
          12                 Popped       in bags
1133
          13                 Okay
          14                 Yeah        it    was    in bags
113
          15                 And    who       put    it    in upstairs
113
          16                 Idid
1133
          17                 All right               Did you         wear         respirator or
1133
          18    anything    when    you
1133
          19                 No
1133
                             Did                      it    out of         the bags       and    --
          20                        you poux
1133
          21                 Poured       it    out       of the bags         and    leveled          it

1133
          22    up   you   know     as    Id come           through         the    ceiling       and       --

1133
          23                 Was    this what             you    would      call    an attic
1133
          24    or-
1133
          25                 Attic
1133
                  HEDMN      ASA         GILMPN       REPORTING             INC       752-5751
                            P0 BOX       394            KMJISPELL             MONTANA
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 0038
                                Okay
1133
                                It    had         few boards         down     and stuff        and
1133
                Vd store stuff up                 there        you   know      and that            But
1133
                otherwise        it    was    just open Zonolite                and         the
1133
                floor joists          --    the roof       joists
1133
                                So you       stored       stuff      up there          So over         the
1133
                years    that    you       lived    in    that house           twenty       years
1133
                were    you   up and down           from that attic
113
                                Oh yes             Many    times         Many    times            Over
1133
          10    the years        the Znolite              would come          down    through          the
1133
                light    fixtures          once    in      while        you    know     with
1134
          12    vibration             guess        and    that        You     would have          to

1134
          13    clean    the shades          out    and stuff
1134
          14                    Okay
1134
          15                    Like         say    --    So    it was          It    was    in    there
1134
          16    from     like         say     probably          twenty      years      or close          to

1134
          17    it
1134
          18                    Okay         Pnd    again         did you      receive       any
1134
          19    warnings        from anybody
1134
          20                    No
1134
          21                          regarding          using       the Zonolite        in your
1134
          22    home
1134
          23                    Nope         Nope         Nobody       said nothing
1134
          24                    Do    you    remember          on the bags       of     Zonolite
1134
          25    whether       there    were       any    warnings              understand          this
1134
                  HEDMAN         ASA        GILMA        REPORTING   INC        752-5751
                                P0 BOX      394            KIiISPELL    MONThNA
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 0039
               was       long       time       ago
1134
                                        dont     remember         if    there       was       or not        No
1134
                                   Did    you    know      that    the ore          that you         were
1134
               using     in your ceiling                  may    have       contained          asbestos
1134
                                   No      Nobody         ever    said            word    about
1135
                something          like    that
1135
                                   Do    you    know       Mr     Larson          -- Are       you   all
1135
                right         Do    you    need      to    take         break
1135
                                   Im fine right now for.a bit
1135
          10                       Al right               You    let    me    know       if    you.would
1135
          11    like    to rest or --
1135
          12                       Okay
1135
          13                       Do    you    know      whether       you       have    had any       other
1135
          14    exposure                lets     say      --    lets        say not to asbestos
1135
          15    at    this point           but       to Zonolite            products           during       the
1135
          16    course    of your          life
1135
          17                       Did         have
1135
          18                       Yeah        other      than    what       we    have       already
1135
          19    talked    about
1135
          20                       Well        the only         other       that         can recall
1135
          21    would    be        we    used    to go up the Zonolite                        hill up
1135
          22    towards       the mine           and there         was       some    old       cabins
1135
          23    there    and       that        and we      would       go    up there          and    catch
1135
          24    chipmunks          and    stuff and play               up there               You    know
1135
          25    wed     run    theta      around        the building              and trap          them and
1135
                     HBDMPN     ASA            OILMAN      REPOITING   INC      752-5751
                               P0 BOX          394           KALISPELL   MONTANA
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 0040
                catch   chipmunks              and play       with        them    and that
1135
                                   And    then       there    was        places       Oh          can
1136
                remember      Zonolite           trucks        --         guess they      tipped        over
1136
                or something               There would              be      few    piles of
1136
          05    Zonolite      here        and there                  can    remember      playing        in
1136
                them    you        know          little             Different       things    like
1136
                that      And       in those          cabins        and    stuff
1136
                                   Now     when       you    say Zonolite           road     where
1136
                exactly    were          you    talking       about
1136
          10                       Going up to the mine itself                        about       --    Its
1136
          11    about    four or          five miles out                 here
1136
          12                       Was    this       when    you     were         child
1136
          13                       This    was       when         was       child     yeah
1136
          14                       So    occasionally             right along        the road          or
1136
          15    where    would these             piles       of     ore    be
1136
          16                       Be    along       the    road     and stuff        uh-huh
1136
          17                       Okay
1136
          18                       Yeah
1136
          19                       Jnything          else    --     You    said you       spent         lot

1136
          20    of    time with          Ruben
1136
          21                       Ruben
          22                             Ruben       Felleriberg
1136
          23                       Yeah          Lots       of time        with    Ruben
1136
          24                       Do    you    happen       to know        when    he    started
1136
          25    working       at    Zonolite
1136
                     HEDNAN        ASA         GILMPN       REPORTING   INC      752-5751
                               P0    BOX       394            KALISPELL   MONTANA
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0048
                                 As far as             specific                  mean       what     about
1146
               your lungs has            gotten             worse    since you          quit
1146
                                 Well             just       --      just        cant       function
1146
                 cant       --         just       cant        do nothing               They      are just
1146
               getting      bad         2xid

1146
                                 Well             see       that youre           on    --    that    youre
1146
               on oxygen         as    youre here with                    us today
1146
                                 Uh-huh
1146
                                 Are you          on oxygen          all the time
1146
         10                      Yeah        24     hours
1146
         11                      When       did     you      start with          the       oxygen
1146
         12                      Just this here                   last year
1146
                                               So that            wasnt                           that    --
         13                      Okay                                        something
1146
         14    You    werent put on oxygen                         back     in    92
1146
         15                      No         No               just started          here      in    the
1146
         16    last    --   last       year            This       last year            But       it was
1146
         17    getting      to    --         just couldnt                 do nothing                     cant
1146
         18    do nothing
1147
         19                      Because          of     shortness          of    breath
1147
         20                      Shortness             of    breath         yeah
1147
         21                      Lets        talk about              your    condition            now      Is

1147
         22    the    Raynauds          syndrome              something          thats       still
1147
         23    limIting you
1147
         24                      Oh no                  --    Ive     learned         how    to    live with
1147
         25    that pretty            much          You       know          mean      --    It    will
1147
                 HEDMPN          AS          GILMPN           REPORTING           INC             7S2-5751
                             P0       BOX     394                 KALISPELL           MONTPA
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 0049
                still        if         get    under        you       know     like     real cold
1147
                water     real cold                and that           the hands      will     tingle       and
1147
                get numb          and    stuff            Once    in         while   my feet will              go
1147
                to   sleep        or the       hands       and    everything            But    Ive
1147
                learned       pretty          well how          to live       with   that     over       all
1147
                this time           you       know
1147
                                   What       about       your heart          problem         Now        you
1147
                said you          had to       have       surgery       in    92       How    has    that
1147
                been   since
1147
          10                       It    has       been    good        the heart       problem all
1147
          11    except       for in           95         had to       have      stint put         in       And
1147
          12    then   Ive         --    Ive        had no problems             since with          that
1148
          13                       Do    you       still       take    medication       for your
1148
          14    heart
1148
          15                            still take             that     uh-huh         Yeah         Ive
1148
          16    had no problems                 since with            that      Just    --

1148
          17                       All right               So    then    lets        talk    --    And    your
1148
          18    knee    is    okay            Thats        --

1148
          19                       My    knee       is    fine
1148
          20                       Lets         talk about            your    lungs     then             You
1148
          21    said    --         think        you      said    it    was    around    92        when    you
1148
          22    learned       that you             had          apparently         learned        that you
1148
          23    had emphysema
1148
          24                       Yes
1148
          25                       Did        there      come         time    then    when    you    had
1148
                     HEDMAN        ASA          GILMAN         REPORTING   INC       752-5751
                                  P0 BOX        394       --     KALISPELL    MONTANA
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0050
               diagnosis      of     asbestosis
1148
                              Yes      Dr        Whitehouse             in    Spokane        said     that
1148
               had signs      of     it     and       --    and then               think     it     was    just
1148
                 --   last    year or whenever                    it    was        the Veterans
1149
               doctor    there       asked       me    if        worked          in    the   mine          nd
1149
                 said     No       Vve      never          worked       in the mine                   said
1149
                 used    to   play     in    it       as         kid         And      he   says      And
1149
               they never       told you          nothing             neither          did   they          And
1149
                 said     No         And    thats           when       he    told me         that
1149
         10    asbestosis       showed up on the                      x-rays there
1149
         11                   Okay
         12                   But thats               the       first         learned         about       it
1149
         13    you    know
1149
         14                   And     you    haven               smoked          since     1992
1149
         15                         have    never          smoked            cigarette            since    92
1149
         16                   You     talked               little bit about                  this     but
1149
         17    would like       to    have       you       go into               little bit         more
1149
         18    detail about          your    lung condition                      today             think    you
1149
         19    said youre           using oxygen                all    the time
1149
         20                    Right
1149
         21                    How    well       can       you    move       around
1149
         22                    Not    very       well            Some       days           cant     even
1149
         23    wash    my own       little bit of                hair            got or even         take
1149
         24    shower         You    know        some       days       its tough             to    walk    to
1150
         25    the    bathroom             mean            It    just       --        just    aint         got
1150
                 HEDMN         ABA         GILWN           REPORTING   INC       752-5751
                              P0 BOX       394        --     KALISPELL    MONTANA
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 0051
                no wind
1150
                                   Even    with       the oxygen
1150
                                   Even    with       the oxygen                 Yeah         Its     pretty
1150
                well   gone          Yeah.
1150
                                   Okay         Pnd       this has         gotten      worse you
1150
                said-
1150
                                   Oh     it has          gotten     way     worse       since       92
1150
                Its    no comparison                      Its      way     worse
1150
                                   Because          you     werent         on oxygen          at    all    in
1150
          10    92     or up until             --

1150
          11                       No     no         Arid       could             Back    then            could
1150
          L2    move    around           you    know        and           could    do         few    things
1150
          13    you    know        and stuff                Aint      like       that no more
1150
          14                       Whats        your understanding                        nd          know
1150
          15    youre     not            doctor           but whats          your own
1150
          16    understanding             of    the       cause      of    your shortness             of
1150
          17    breath
1150
          18                       Its          combination               of the       emphysema and
1151
          19    the    asbestosis              you    know      --    just         combination             of

1151
          20    everything                guess
1151
          21                       Jnd    how       does     that affect           you        in   your daily
1151
          22    life           mean        tell       us about            some    of     the things
1151
          23    perhaps       that       you used           to enjoy        doing
1151
          24                       Oh     its just about                   put me        to        stand
1151
          25    still         Me    and my wife               we     used    to just           love to get
1151
                  HEIDMAN          ABA    OILMAN             REPORTING            INC      752-5751
                               P0     BOX 394                   XPJJISPELL          MONTANA
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 0052
                out and fish and                  camp    and go mushrooming                    and hunting
1151
                and everything              we     could      do         And    take         the grandkids
1151
                Out    and the kids               out fishing and camping
1151
                                About        all          can    do      now    is           bought                boat
1151
                  few years           back       because            had to         quit       fishing in
1151
                the creeks                  couldnt           make       it    up and down            the
1151
                banks    or     --         would get          too short            of     breath           So
1151
                thought         well        maybe        if      got           boat            could          at

1151
                least     sit    in the boat              and stuff
1151
          10                    Well            that went        on for                 about .one year
1151
                that       could           you     know         And      now         take      it    up there
1152
          12    and watch        the kids             go out and everybody                     go    out
1152
          13    fishing and                sit and watch                 because              cant       walk
1152
          14    over    the bank           or     wlk     over      to    the bank            to watch
1152
          15    You    know      it    just        --    It    just      put me         to      stand
1152
          16    still         Just     about          what     its done
1152
          17                     How       old     did    you    say you            are       Mr Larson
1152
          18                     Im 62            years       old        Just turned            62       in

1152
          19    November
1152
          20                     Anything             else     that you            and Joyce          used         to
1152
          21    enjoy doing                You     said you         enjoyed          camping             anything
1152
          22    like that             Can       you     do it at         all anymore
1152
          23                     Not       really no                     --    We    cant       ---           cant
1152
          24    take    the oxygen              and        got to        take       the      treatments             and
1152
          25    everything           and     --         just cant             --        dont        --         just
1152
                  HEDMAN         ABA            OILMAN        REPORTING   INC       752-5751
                                P0  BOX         394      --     KALISPELL   MONTANA
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 0053
          .1     cant     do it       anymore      at       all      And      then      anything
1153
                 thats     got     to    be done        she          thats         what    hurts
1153
                me   --   probably        hurts me          worse than         anything          to   have
1153
                 to have    her       do it all
1153
                                 You     mean    Joyce
1153
                                 Yeah      Joyce
1153
                                 Like what        kind       of    things
1153
                                 Anything          Anything              With      the    camper      or
1153
                 the boat     or      loading     it    or checking            the      oil or          you
1153
           10    know     anything             Just everything
1153
           11                    Does     that    --    Im sorry              go   ahead
1153
           12                    Im just -- That                  tears me         up
1153
           13                    It     bothers    you       that
1153
           14                    Uh-huh
1153
           15                    Are you        on any             You   said you         had    some
1153
           16    treatments             What    kind of       treatments           are you
1153
           17    referring       to
1153
           18                    Mebulizer
1153
           19                    Nebulizer
1153
           20                    Nebulizer        and uppers
1153
           21                    And     what    are    those       for
1153
           22                    For my lungs
1154
           23                    Flow    often    do you          have   to    take      that
1154
           24    treatment
1154
           25                    Every     three       to    four hours                 Its   getting
1154
                     HEDMPN      ASA       GILMAN       REPORTING   INC        752-5751
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0054
               on to that             time here            Mave        to       take         break     here
1154
               pretty          soon
1154
                                    Okay          Well     lets            --    ItTs    almost        noon
1154
               but     Im almost done                          only have           about       maybe five
1154
               more questions                for you
1154
                                    Okay
1154
                                     So       mean        then        we    can    talk       about    whether
1154
               you     need         to take         rest         What           kind    of    medications
1154
               are you          on     other       than    the        nebulizer          at    this point
1154
          10                        Oh      Im on Predxiisorie
1154
          11                        And     what    is    that        for
1154
          12                         For my lungs
1154
          13                         For your lungs
1154
          14                         Yeah         And    Traza        --    Well             brought          list
1154
          15   of    it        so      --    because             cant           remember
1154
          16                         Okay         You    can     --

1154
          17                         Can      refer       to this
1154
          18                         Sure
1154
          19                         Trazodone             guess thats                  how    you     --

1154
          20                         Trazodone            What        is    that        for
1155
          21                         Thats        for    the     nerves          and    --    You    know
1155
          22   And     Im on oxygen                 Tranzodone                  Prednisone           and    --

1155
          23    Pause
1155
          24                         You    can    spell it           --
1155
                                                                                   canTt       --
          25                         Serivent           phonetic                                        lot      of
1155
                    1-LEDMAN         ASA      OILMAN       REPORTING   INC      752-5751
                                    P0 BOX    394            KALISPELL   MONTANA
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 0055
                it       cant        even        read       the writing                   dont     know    how
1155
                you    would       pronounce           the others
1155
                                   Are you        on any          medication          for your heart
1155
                                   Yes            take       nitroglycerin
1155
                                   And    do you        use       any     kind of         inhalers for
1155
                your    lungs
1155
                                   Yes           got    inhalers
1155
                                   Have    you     been           --    Were     talking      about your
1155
                lung    condition                Have       you        been   in and out of          the
1155
           10   hospital        in   the     last -- lets                     say    in the       last two
1156
           11   years    for shortness                 of    breath
1156
           12                      Yes       Probably              seven       eight       times
1156
           13                      Here     in Libby               or do you
1156
           14                      Well      between              Libby and the Veterans
1156
           15   hospital                  spent    two       and          half      months    in    the    Care
1156
           16   Center     at      the Veterans hospital                         last year on
1156
           17    account      of     my bones          are getting             so    bad    from the
1156
           18    Prednisone
1156
           19                      What     do    you       mean        by getting         bad      Whats
1156
           20   happening
1156
           21                      Thinning              Getting          thin      and    they    fracture
1156
           22   And      would        sneeze       or cough              and they         would    fracture
1156
           23   And    then
1156
           24                      And     that     is      from the           Prednisone
1156
           25                      Thats          from the Prednisone
1156
                   HDMAN           ASA       GILMM               REPORTING          INC       752-5751
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 0056
                               And     Prednisone                why    do you         take
1156
                Prednisone
1156
                               For the        lungs
1156
                               For the lungs
1156
                               Yeah       for the              lungs
1156
                               Okay       Dont             crinkle          that       please         Im
1156
                going    to    ask you        not to           crinkle       that paper         again
1156
                               Oh okay
1157
                               Nervous        habit              So    when      you    go    into the
1157
          10    hospital what            precipitates                 you    having      to    go into
1157
          11    the hospital
1157
          12                   What      makes me              go
1157
          13                   Yeah
1157
          14                    Just     aint        breathing              no   more         They have
1157
          15    just got       to   get me      going           again
1157
          16                    How    does     that           feel
1157
          17                    Oh boy               Its scary                    mean        itTB    --

1157
          18    mean     its terrible                     Im just not             breathing            The
1157
          19    last time             Second         to    the last time               here     they were
1157
          20    pretty    worried        about        me       that time
1157
          21                    What     brings           it    on
1157
          22                    Just     comes        on         Just       no function         left
1157
          23    Last    time    they     said             had    10    percent         functioning          in
1157
          24    my    lungs left         so    .--    And       then     the     last month          they
1157
          25    said    that    even     dropped           some       over       there          was    over
1157
                     HEDMAN     ASA       GILMAN           REPORTING   INC       752-5751
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 0057
                last    Tuesday       and       they put me            on the         tester        and       then
1158
                        month       before       that            was   in the hospital               there
1158
                six days and             they run all             these       tests       and put        me    in
1158
                the machines          and all this                 and       then     they       put me       on
1158
                the machine          when            was    thre       this last time                they
1158
                said it    dropped             this last time
1158
                                What       had dropped
1158
                                My       function
1158
                                Yourlung-
1158
           10                   Yeah           my lung expansion                and function
1158
           11                   Whats           your understanding                     Mr Larson               as
1158
           12   to   whether        there       is    any    cure       for your lung
1158
           13   conditions
1158
           14                   No        there       is    no cure            Z4nd    they       told me
1158
           15   that    they    couldnt              give me       new       lungs and that              on
1158
           16   account    of       my    --         just couldnt              take       it      the
1158
           17   surgery         Just       like my back                 the    bones        fracturing
1158
           18   and stuff           that they          couldnt           even       put     --    They    said
1158
           19   that    some    people          they could             put    steel       in it or
1158
           20    something      to hold          it        you    know        braceit             and.they
1158
           21    said   they couldnt                 do that with             me       Feed me pain
1159
           22   pills
1159
           23                   nd you had                   fracture          in     your back           you
1159
           24    said
1159
           25                        had       three       fractures                  had    one at
1159
                     HEDMAN     ASA            GILMAN       REPORTING   INC      752-5751
                               P0 BOX          394     --     KJLISPELL   MONTANA
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 0058
                time     but                   --    It              all within               month      that
                                they was                   was
1159
                they    fractured
1159
                                And    what    brought          those       on
1159
                                Just sneezing             and coughing
1159
                                And    thats        because          of    the    condition         of
1159
                your    bones    being    weakened
1159
                                Yes     from the Prednisone
1159
                                  have    just            couple          more    questions         for
1159
                you    that      want    to    cover           and        would        like    to   ask
1159
          10    you      little bit       about your             relationship             with      Joyce
1159
          11    your wife         When    did you          say the          two of       you    got
1159
          12    married
1159
          13                    Cot married
1159
          14                    Yeah
1159
          15                    1980
1159
          16                    Okay      Can       you    tell us               little bit         about
1159
          17    that    relationship
1159
          18                    Oh yeah             We    --    It    has       been      great       one
1159
          19    Were     good    friends            Been       good       friends
1159
          20                    Have    you    been       happy       together.
1159
          21                    Oh yeah             Loved       to do       things       with       her
1159
          22    and     you    know     the kids               Everything               But    --    Its
1159
          23    not possible          to do too much             anymore
1200
          24                    As far as                Because          you    said you       used      td
1200
          25    enjoy    camping       and fishing
1200
                  HEDMAN        ABA      OILMAN          REPORTING   INC      752-5751
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 0061
                  reason    in the world                  dont        know    why        but    she    --

1202
                  about      half      hour       later she          come    and         was    sitting
1202
                  in the    boat      and    they       got me       out and brought             me    into
1202
                  the    hospital
1203
                                 That       was    for        back     --

1203
                                 That       was    for my back          and       lungs again
1203
                    wouldnt breathe                it   hurt     so    bad        you    know        from
1203
                  the    fracture
1203
                                 So    as far as          you    needing          help    now    with
1203
            10    your day-to-day            life        is    Joyce there          now    to help you
1203
            11    with    what   you    need
12   03

            12                   Yes        she    is         Yes     thats        hat hurts
1203
            13    Shes     got   to do pretty             near       everything            Not       pretty
1203
            14    near     everything              Or the kids              you    know
1203
            15                   Yeah        or your kids
1203
            16                                    MS     BIBY           dont        have       any    more
1203
            17    questions      for    you Mr Larson                       Unless         may have
1203
            18    few    follow-ups           But       Im sure Mr            Graham will             have
1203
            19    some    questions         to ask       you         nd we        can    take         break
1203
            20    now if you would                like
1203
            21                                    THE    DEPONENT            Can    we    take
1203
            22    break
12   03
            23                                    MR     GR2HAM         Sure
1203
            24                         recess       was       held    in the proceedings
1242
            25    /1/I
                     HEDMAN       ASA        GILMAN          REPORTING   INC      752-5751
                                 P0 BOX      394        --     KALISPELL   MONTANA
